
345 S.E.2d 393 (1986)
316 N.C. 734
STATE of N.C.
v.
Walter BRYANT, Jr.
No. 290A86.
Supreme Court of North Carolina.
June 3, 1986.
Malcolm Ray Hunter, Jr., Appellate Defender, Raleigh, for defendant.
Dolores O. Nesnow, Associate Atty. Gen., N.C. Dept. of Justice, Raleigh, for the State.

ORDER
Upon consideration of the petition for discretionary review, filed by Defendant in this matter pursuant to G.S. § 7A-31 and *394 Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Denied by order of the Court in conference, this the 3rd day of June 1986."
Accordingly, only those issues which are the basis of the dissenting opinion in the Court of Appeals shall be presented to this Court in briefs. The Defendant's new brief so limited in scope shall be filed with this Court not more than 20 days from the date of certification of this order.
